UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

            Plaintiff,                      Case No. 23-CV-287 (ER)

          v.
                                            ORAL ARGUMENT REQUESTED
GENESIS GLOBAL CAPITAL, LLC and GEMINI
TRUST COMPANY, LLC,

            Defendants.




               MEMORANDUM OF LAW IN SUPPORT OF
            DEFENDANT GENESIS GLOBAL CAPITAL, LLC’S
               MOTION TO DISMISS THE COMPLAINT OR
        STRIKE CERTAIN OF PLAINTIFF’S REQUESTS FOR RELIEF




                                     Jason Gottlieb
                                     Daniel C. Isaacs
                                     William Roth
                                     MORRISON COHEN LLP
                                     909 Third Avenue
                                     New York, New York 10022
                                     Telephone: (212) 735-8600
                                     Facsimile: (212) 735-8708

                                     Attorneys for Defendant
                                     Genesis Global Capital, LLC
                                                   TABLE OF CONTENTS

                                                                                                                                         Page


PRELIMINARY STATEMENT .................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................. 4
          A.         The Parties .............................................................................................................. 4
          B.         The Gemini Earn Program ...................................................................................... 5
          C.         The Termination of Gemini Earn and GGC’s Chapter 11 Proceedings ................. 7
          D.         The SEC’s Claim for Relief .................................................................................... 8
LEGAL STANDARD ..................................................................................................................... 8
ARGUMENT ……………………………………………………………………………………..9
I.        THE GEMINI EARN PROGRAM DID NOT CONSTITUTE AN OFFER AND SALE
          OF SECURITIES ................................................................................................................ 9
          A.         Gemini Earn Loan Agreements Are Not Investment Contracts Under Howey ...... 9
                     1.         The Complaint fails to allege that Gemini’s customers “invested” in a
                                “common enterprise” .................................................................................. 9
                     2.         The Complaint fails to allege that Gemini Earn customers had any
                                expectation of profits solely from the efforts of either Gemini or GGC .. 11
          B.         Gemini Earn Loan Agreements Are Not Security Notes Under Reves ................ 14
                     1.         The motivations of the parties were simply to make (and accept) a loan . 15
                     2.         The alleged plan of distribution refutes a conclusion that the Loan
                                Agreements were securities ...................................................................... 18
                     3.         The SEC’s allegations, and the Loan Agreement itself, confirm that the
                                “expectation of the investing public” was that the Gemini Earn loans were
                                not securities ............................................................................................. 19
                     4.         Risk mitigation factors, including a regulatory regime, were in place ..... 21
II.       PERMANENT INJUNCTIVE RELIEF AND DISGORGEMENT ARE NOT
          SUFFICIENTLY ALLEGED ........................................................................................... 22
CONCLUSION ............................................................................................................................. 25




                                                                       i
                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)

FEDERAL CASES

Asset Prot. Plans, Inc. v. Oppenheimer & Co., Inc.,
   No. 8:11-CV-440-T-23MAP, 2011 WL 2533839 (M.D. Fla. Jun. 27, 2011)....................17–18

ATSI Commc’ns, Inc. v. Shaar Fund, Ltd.,
   493 F.3d 87 (2d Cir. 2007).........................................................................................................5

Banco Espanol de Credito v. Sec. Pac. Nat’l Bank,
   763 F. Supp. 36 (S.D.N.Y. 1991) ............................................................................................16

Banco Espanol de Credito v. Sec. Pac. Nat’l Bank,
   973 F.2d 51 (2d Cir. 1992)............................................................................................... passim

Benedict v. Amaducci,
   No. 92 Civ. 5239 (KMW), 1995 WL 413206 (S.D.N.Y. July 12, 1995).................................19

C.N.S. Enterprises, Inc., v. G & G. Enterprises, Inc.,
   508 F.2d 1354 (7th Cir.1975) ..................................................................................................17

Cooper v. King,
   114 F.3d 1186 (6th Cir. 1997) .................................................................................................11

Costabile v. N.Y.C Health & Hosps. Corp.,
   951 F.3d 77 (2d Cir. 2020).........................................................................................................8

Dane v. UnitedHealthcare Ins. Co.,
   974 F.3d 183 (2d Cir. 2020).......................................................................................................8

Deckebach v. La Vida Charters, Inc. of Fla.,
   867 F.2d 278 (6th Cir. 1989) .............................................................................................10, 13

Elson v. Geiger,
   506 F. Supp. 238 (E.D. Mich. 1980)........................................................................................13

First Citizens Fed. Sav. & Loan Ass’n v. Worthen Bank & Tr. Co., N.A.,
    919 F.2d 510 (9th Cir. 1990) .........................................................................................3, 12, 22

In re Genesis Global Holdco, LLC, et al.,
    Case No. 23-10063 (SHL) (Bankr. S.D.N.Y.) ...................................................................5, 7–8

Glazer v. Abercrombie & Kent, Inc.,
   No. 07 C 2284, 2009 WL 3060269 (N.D. Ill. Sept. 22, 2009) .................................................21




                                                                  ii
Harman v. Harper,
   914 F.2d 262 (9th Cir. 1990) .............................................................................................12–13

Intelligent Digital Systems, LLC v. Visual Management Systems, Inc.,
    683 F. Supp. 2d 278 (E.D.N.Y. 2010) ...................................................................13–14, 17, 21

Jeanne Piaubert, S.A. v. Sefrioui,
   No. 97-56131, 2000 WL 194149 (9th Cir. Feb. 17, 2000) ......................................................18

Kramer v. Time Warner Inc.,
   937 F.2d 767 (2d Cir. 1991).......................................................................................................5

LeBrun v. Kuswa,
   24 F. Supp. 2d 641 (E.D. La. 1998) .........................................................................................20

Liu v. SEC,
    140 S. Ct. 1936 (2020) .............................................................................................................23

Premier Microwave Corp. v. Comtech Telecomms. Corp.,
   No. 88 Civ. 2570 (KMW), 1991 WL 12430 (S.D.N.Y. Jan. 28, 1991) ...................................19

Reeder v. Succession of Palmer,
   736 F. Supp. 128 (E.D. La. 1990) ......................................................................................19–20

Resolution Tr. Corp. v. Stone,
   998 F.2d 1534 (10th Cir. 1993) ...............................................................................................13

Revak v. SEC Realty Corp.,
   18 F.3d 81 (2d Cir. 1994).................................................................................................1, 9, 11

Reves v. Ernst & Young,
   494 U.S. 56 (1990) ........................................................................................................... passim

Schorr v. Roberson,
   319 F. Supp. 3d 226 (D.D.C. 2018) .........................................................................................23

SEC v. Alexander,
   115 F. Supp. 3d 1071 (N.D. Cal. 2015) ...................................................................................24

SEC v. Boey,
   No. 07-cv-39-SM, 2013 U.S. Dist. LEXIS 59250 (D.N.H. Jul. 22, 2013) ..............................22

SEC v. City of Victorville,
   No. ED CV13-00776 JAK, 2013 WL 12133651 (C.D. Cal. Nov. 14, 2013) ..........................22

SEC v. Commonwealth Chem. Secs., Inc.,
   574 F.2d 90 (2d Cir. 1978).................................................................................................22–23




                                                                   iii
SEC v. Dibella,
   No. 3:04cv1342 (EBB), 2008 U.S. Dist. LEXIS 109378 (D. Conn. Mar. 13,
   2008) ..................................................................................................................................22–23

SEC v. Fernandez,
   No. 6:19-CV-1843-RBD-LRH, 2021 WL 6125520 (M.D. Fla. Feb. 22, 2021) ......................24

SEC v. First Jersey Secs., Inc.,
   101 F.3d 1450 (2d Cir. 1996)...................................................................................................23

SEC v. Norton,
   No. 95 CIV. 4451 (SHS), 1998 WL 691043 (S.D.N.Y. Sept. 30, 1998) .................................24

SEC v. Opulentica, LLC,
   479 F. Supp. 2d 319 (S.D.N.Y. 2007)......................................................................................22

SEC v. RG Reynolds,
   952 F.2d 1125 (9th Cir. 1991) .................................................................................................21

SEC v. Steadman,
   967 F.2d 636 (D.C. Cir. 1992) .................................................................................................22

SEC v. Telegram Grp. Inc.,
   448 F. Supp. 3d 352 (S.D.N.Y. 2020)......................................................................................10

SEC v. W.J. Howey Co.,
   328 U.S. 293 (1946) ......................................................................................................... passim

Union Nat’l Bank of Little Rock v. Farmers Bank, Hamburg, Ark.,
   786 F.2d 881 (8th Cir. 1986) ...................................................................................................13

Union Planters Nat’l Bank of Memphis v. Com. Credit Bus. Loans, Inc.,
   651 F.2d 1174 (6th Cir. 1981) .................................................................................................12

United Housing Foundation, Inc. v. Forman,
   421 U.S. 837 (1975) .................................................................................................................13

Wilson v. Dantas,
   746 F.3d 530 (2d Cir. 2014).......................................................................................................8

STATUTES & RULES

15 U.S.C. § 77(b)(a)(1) ....................................................................................................................1

Fed. R. Civ. P. 8(a) ........................................................................................................................24

Fed. R. Civ. P. Rules 12(b)(1) .........................................................................................................1

Fed. R. Civ. P. 12(b)(6)................................................................................................................1, 8


                                                                      iv
15 U.S.C. § 77e ..........................................................................................................................2, 8

OTHER AUTHORITIES

Press Release, SEC, SEC Charges Genesis and Gemini for the Unregistered Offer
   and Sale of Crypto Asset Securities through the Gemini Earn Lending
   Program (Jan. 12, 2023), https://www.sec.gov/news/press-release/2023-7 ..............................7




                                                                      v
        Defendant Genesis Global Capital, LLC (“GGC”) respectfully submits this memorandum

of law in support of its motion (the “Motion”), under Rules 12(b)(1) and 12(b)(6) of the Federal

Rules of Civil Procedure, to dismiss Plaintiff Securities and Exchange Commission’s (“SEC”)

Complaint (the “Complaint” or the “Compl.”), or in the alternative, to strike the Complaint’s

prayer for a permanent injunction and disgorgement. 1

                                    PRELIMINARY STATEMENT

        Not all financial transactions—let alone loans—are securities offerings. Sometimes, a loan

is just a loan. Under the statutory scheme relevant to this case, the term security means only certain

types of instruments, which include, among others, “investment contracts” and security “notes.”

See 15 U.S.C. § 77(b)(a)(1).

        Most contracts are not investment contracts. An investment contract means a specific type

of agreement, which must involve a person investing money, in a common enterprise, with an

expectation of profits based solely on the efforts of others. See SEC v. W.J. Howey Co., 328 U.S.

293 (1946). To be an investment contract, the investors’ fortunes must be tied together, meaning

that there is a pooling of investors’ funds, typically with a pro rata distribution or sharing in the

profits and losses of the enterprise as a whole. See, e.g., Revak v. SEC Realty Corp., 18 F.3d 81

(2d Cir. 1994).

        Likewise, most loans are not securities. See Banco Espanol de Credito v. Sec. Pac. Nat’l

Bank, 973 F.2d 51, 55 (2d Cir. 1992). A loan is not a security when it bears a strong resemblance

to other instruments that are not securities, which courts determine by examining the motivation

of the parties, the plan of distribution of the financial instrument, the public’s expectations, and

any risk reducing features. See Reves v. Ernst & Young, 494 U.S. 56, 64–69 (1990). Key to


1
 GGC also joins in the arguments made by co-defendant Gemini Trust Company, LLC’s motion to dismiss the
Complaint to the fullest extent applicable to GGC.
characterizing a note as a security is an investment in a business enterprise. Conversely, where

the motivation of lenders and borrowers is just the promotion of commercial or consumer purposes,

the loans are not transferrable, and the parties’ expectations are that the instruments are not

securities, the loans are not securities. See Banco Espanol, 973 F.2d at 55.

       In this case, filed two years after the Gemini Earn program first commenced, and months

after it ceased, the SEC alleges that the loan agreements executed by GGC, Gemini Trust

Company, LLC (“Gemini”), and Gemini’s customers were somehow both investment contracts

and security notes, at the same time – a notion of wrongfulness in search of a theory of liability.

       Notwithstanding that the Gemini Earn program has been terminated for months, and that

GGC is in the midst of complex Chapter 11 proceedings in which the very customers of the Gemini

Earn programs are creditors, the SEC has chosen to sue GGC on the premise that the loan

agreements associated with the Gemini Earn program were unregistered securities, the offering of

which violated federal securities laws. Whatever the tactical reasons may have been behind the

SEC’s litigation calculus, the SEC’s single claim—for a violation of Section 5 of the Securities

Act of 1933—is legally deficient because the Complaint fails to plead facts that would elevate the

loan agreements into securities.

       The loan agreements were simple lending arrangements, signed by three parties: a

participating customer of Gemini Trust Company, LLC (“Gemini”) who wished to lend digital

assets (as lender), Gemini (as agent for its customers), and GGC (as borrower). The loan

agreements unequivocally and expressly referred to the subject transactions as loans. Each party

expressly agreed that the loans “are intended to be commercial loans of Digital Assets and not

securities under the U.S. federal or state securities laws.” The economics of the transactions were

similarly plain: they were open-term loans, i.e., the customer could call back their loan at any




                                                 2
time. The SEC has not plausibly alleged facts that would transmogrify these loans into either

investment contracts or security notes.

       First, the SEC has failed to adequately allege that the loan agreements were investment

contracts. The SEC’s allegations—read alongside the actual contract—demonstrate that each

Gemini Earn customer agreed to loan their digital assets for an open term—any amount of time

they wished—in exchange for a market-based rate of interest. Under the terms of the loan

agreement, GGC was obligated to pay those market rates—nothing more, nothing less—regardless

of how GGC’s own lending business performed. Gemini Earn customers were thus simply drawn

to the promise that they would earn rates that were at the time commercially competitive. The

Complaint does not, because it cannot, allege that each lender was casting its lot with GGC, with

its fortunes rising or falling with GGC’s profits, or that the lenders were horizontally economically

aligned with other lenders—features that are required for investment contracts.

       Second, there is no pleaded factual basis for the SEC’s alternative theory that the loan

agreements were security notes under Reves. Conventional lending agreements do not bear

sufficient resemblance to securities as to be deemed security notes. See Banco Espanol, 973 F.2d

at 55; Kirschner as Tr. of Millennium Lender Claim Tr. v. JPMorgan Chase Bank, N.A., No. 17

CIV. 6334 (PGG), 2020 WL 2614765 (S.D.N.Y. May 22, 2020). The loan agreements here

expressly characterized the transaction as a loan, not a security. The parties were driven by the

straightforward economic incentives of lenders earning a reliable, disclosed interest rate (on one

hand), and borrowers accessing capital (on the other). The loan agreements were not transferrable;

there was no secondary market for them. GGC stood behind each loan as principal; Gemini Earn

customers’ singular motivation was to collect a market rate of interest, and not to place their money

at risk in anticipation of profit akin to an investment in GGC as an enterprise. And Gemini, a trust




                                                 3
company, was supervised by its prudential regulator, the New York State Department of Financial

Services. The allegations in the Complaint – the loan agreement, surrounding circumstances, and

economics of the transactions – all add up to a non-security loan.

       The Complaint suffers from a separate problem as well: it alleges no facts to support the

remedies of a permanent injunction or disgorgement sought by the SEC. The SEC does not allege

any likelihood that the now-shuttered Gemini Earn program will restart, and thus, the SEC’s prayer

for a permanent injunction lacks basis. As to disgorgement, the SEC does not plead any “ill-gotten

gains” purportedly received through the Gemini Earn program.               The SEC’s pleading for

disgorgement is jarring, given the pendency of GGC’s Chapter 11 restructuring proceedings in this

district’s Bankruptcy Court. Any disgorgement (or monetary penalties) would come directly at

the expense of GGC’s other creditors, including the same exact Gemini Earn customers the SEC

has ostensibly brought this action to protect.

       The issues presented in this case are not just academic, and not limited to this case. If the

loan agreements here were securities, there would be no principled distinction between any type

of loan and a security. It would be the proverbial elephant hiding in a mouse hole. The SEC’s

conceptualization of loans would subject vast swaths of lending typically offered to American

businesses to the full scope of the federal securities laws, requiring registration of each of them (or

requiring that they manage to qualify for one of the few exemptions to registration). Nothing in

the Securities Act of 1933, the Supreme Court decisions interpreting that Act, or their progeny,

suggest that the SEC is or should be the general regulator of loans in America.

                                     STATEMENT OF FACTS

       A.      The Parties

       GGC was formed in 2017 as a wholly-owned subsidiary of Genesis Global Holdco, LLC,

which in turn is wholly owned by Digital Currency Group, Inc. (“DCG”). Compl. ¶ 16. Gemini


                                                  4
Trust Company, LLC (“Gemini”) was founded in 2017 by Cameron and Tyler Winklevoss, who

continue to own and control the company through Winklevoss Capital Fund, LLC. Compl. ¶ 17.

        B.      The Gemini Earn Program

        Since its inception in 2018, GGC’s business principally consisted of borrowing digital

assets from institutions and other accredited investors, and lending those assets to other institutions

and accredited investors. Compl. ¶ 23. None of that activity is the subject of the instant case.

        In February 2021, GGC began participating in the “Gemini Earn” program. Compl. ¶ 25.

The basic structure of the Gemini Earn program was straightforward. Gemini’s customers, and

only its customers, could elect to participate in Gemini Earn. Compl. ¶ 26. Gemini aggregated

the digital assets of its participating customers, and lent those assets, on the customers’ behalf, to

GGC. Compl. ¶ 26. GGC, in turn, paid a gross market-based interest rate to Gemini. Gemini

drew an agent fee for itself, and paid the remaining interest to its customers. Gemini, in its sole

discretion, calculated its agent fee for each loan, thus controlling the net rates of yield offered to

its customers. Compl. ¶ 28; Declaration of Jason Gottlieb, dated May 26, 2023, Ex. 1 (“Loan

Agreement”) 2 at 1.

        All loans from Gemini customers were “open term,” which meant that the customer could

terminate all, or a portion of, their loan at any time with no fees. Compl. ¶ 31. Gemini customers

could loan approximately 50 different cryptocurrencies through the program, which earned

customers between 0.45% and 8.05% depending on the asset. Compl. ¶¶ 29–30.




2
        On this motion, this court “may consider … statements or documents incorporated into the
complaint by reference . . .,” such as the Loan Agreement. ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493
F.3d 87, 98 (2d Cir. 2007). Moreover, “courts routinely take judicial notice of documents filed in other
courts.” Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991), such as the docket of In re Genesis
Global Holdco, LLC, et al., Case No. 23-10063 (SHL) (Bankr. S.D.N.Y.), discussed infra at 8.



                                                    5
       The terms of the Gemini Earn program were set out in a tri-partite Master Digital Asset

Loan Agreement (the “Loan Agreement”), executed by each participating Gemini customer,

Gemini, and GGC. Gottlieb Dec., Ex. 1; see also Compl. ¶¶ 3, 26, 31–32, 38. In pertinent part,

the Loan Agreement:

       •   Defined the “Gemini Earn Platform” as “a service and accompanying user
           interface offered by [Gemini] whereby a [Gemini customer] may authorize
           [Gemini], as custodian of Lender’s Digital Assets, to negotiate one or more loan
           agreements on [the Gemini customer’s] behalf for the purpose of lending
           certain of [the customer’s] Digital Assets to one or more borrowers at the [the
           customer’s] direction.” See Gottlieb Dec., Ex. 1 at 2 (emphasis added).

       •   Described the covered transactions as “Loans” with “Offered Loan Terms” that
           established “Loan Fees” “based on a monthly interest rate, which may be
           updated on the first day of each calendar month upon at least five (5) days
           advance notice by [GGC] to [Gemini].” See Gottlieb Dec., Ex. 1 at 3–5.

       •   Stated that “Loans will be Open Term Loans unless otherwise specified,” and
           “shall be repaid to a Digital Assets Address provided by [Gemini] within three
           Business Days after the request by [the customer] …” See Gottlieb Dec., Ex. 1
           at 3, 15 (providing that upon termination, “any Loaned assets shall be
           redelivered immediately and any fees owed shall be payable immediately”).

       •   Stated—in a provision titled “Intent”—that “[e]ach Party agrees that the Loans
           are intended to be commercial loans of Digital Assets and not securities under
           the U.S. federal or state securities laws.” See Gottlieb Dec., Ex. 1 at 16
           (emphasis added).

Even beyond these specific provisions, the Loan Agreement presented Gemini Earn as a non-

securities lending program. See generally Gottlieb Dec., Ex. 1.

       Although GGC is alleged to have “pooled” the crypto assets it received from Gemini Earn

customers on its balance sheet (Compl. ¶ 38), and “deployed” the assets on its balance sheet by

either lending them to institutional borrowers or using them as collateral for GGC’s own borrowing

(Compl. ¶ 39), GGC was obligated to repay Gemini Earn customers’ principal and yield based on

the “gross interest rate that it paid for each crypto asset” (Compl. ¶ 28), regardless of how GGC’s

own lending business performed over any given period.


                                                6
       Gemini, and not GGC, ran the customer-facing operations of the Earn program. Gemini

acted as the agent for Earn customers and handled customer operations (Compl. ¶¶ 31–22); Gemini

placed customer funds with Genesis (Compl. ¶¶ 26, 31); Gemini was responsible for all terms of

service and disclosures, including listing which digital assets were eligible under the program

(Compl. ¶ 29); Gemini was responsible for all marketing, including the marketing alleged by the

SEC to be indicia of the Earn loans qualifying as securities (Compl. ¶¶ 34–37); and Gemini chose

the interest rates paid to Earn customers. GGC, meanwhile, did not market the Earn program (see

Compl. ¶ 33), and only calculated the interest paid to Gemini (Compl. ¶ 28). Additionally, Gemini

is registered as a New York limited purpose trust company with the New York State Department

of Financial Services, its prudential regulator. See Compl. ¶¶ 17, 52.

       C.      The Termination of Gemini Earn and GGC’s Chapter 11 Proceedings

       As the SEC has acknowledged, the Gemini Earn program ceased before the SEC filed its

Complaint. Compl. ¶ 8; see also Press Release, SEC, SEC Charges Genesis and Gemini for the

Unregistered Offer and Sale of Crypto Asset Securities Through the Gemini Earn Lending

Program (Jan. 12, 2023), https://www.sec.gov/news/press-release/2023-7 (“Gemini terminated the

Gemini Earn program earlier this month.”).

       On January 19, 2023, one week after the SEC filed its Complaint, GGC and two affiliated

debtors filed a voluntary petition for relief under Chapter 11 of the United States Bankruptcy Code

in the United States Bankruptcy Court in this district. See In re Genesis Global Holdco, LLC, et

al., Case No. 23-10063 (SHL) (Bankr. S.D.N.Y.). While the SEC alleges that Gemini Earn

customer assets have not been returned because of “volatility in the crypto asset market” (Compl.

¶ 7), the Complaint omits key details surrounding that “volatility,” namely the unforeseen collapse

of two of GGC’s largest institutional counterparties, Three Arrows Capital and FTX/Alameda.

See, e.g. Declaration of A. Derar Islim in Support of First Day Motions and Applications in


                                                7
Compliance with Local Rule 1007-2 (ECF No. 17), In re: Genesis Global Holdco, LLC, et al.,

Case No. 23-10063, at ¶¶ 27–40. As of the time of this writing, GGC’s Chapter 11 proceeding

remains pending.

       D.      The SEC’s Claim for Relief

       The SEC brings a single claim, that Gemini and GGC violated Sections 5(a) and 5(c) of

the Securities Act, 15 U.S.C. 77e(a) and 77e(c), by selling or offering the Loan Agreements, and

seeks a permanent injunction, disgorgement, prejudgment interest, and civil money penalties.

                                      LEGAL STANDARD

       “To survive a Rule 12(b)(6) motion to dismiss, the complaint must include enough facts to

state a claim to relief that is plausible on its face.” Wilson v. Dantas, 746 F.3d 530, 535 (2d Cir.

2014) (citation and internal quotation marks omitted). A claim has “facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (citation omitted). “Although all allegations

contained in the complaint are assumed to be true, this tenet is inapplicable to legal conclusions.”

Id. (citation and internal quotation marks omitted). “[T]hreadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.”                Dane v.

UnitedHealthcare Ins. Co., 974 F.3d 183, 189 (2d Cir. 2020) (citation omitted). Although the

court is “obligated to draw the most favorable inferences that plaintiff’s complaint supports, [the

court] cannot invent factual allegations that he has not pled.” Costabile v. N.Y.C Health & Hosps.

Corp., 951 F.3d 77, 81 (2d Cir. 2020) (citation omitted).




                                                 8
                                          ARGUMENT

I.      THE GEMINI EARN PROGRAM DID NOT CONSTITUTE AN OFFER AND
        SALE OF SECURITIES

        The Complaint should be dismissed because the now-defunct Gemini Earn program was

nothing more than a lending arrangement. As that arrangement is alleged in the Complaint, neither

the Loan Agreements, the loans individually, nor the loans grouped as a whole amounted to a

securities offering.

        The SEC has alleged that the Loan Agreements are “securities” under two Court-developed

tests: the Howey test for “investment contracts” set forth in SEC v. W.J. Howey Co., 328 U.S. 293

(1946), and the “family resemblance test” for “notes” set forth in Reves v. Ernst & Young, 494

U.S. 56 (1990). The Loan Agreements did not constitute an offer and sale of securities under

either Howey (as investment contracts) or Reves (as security notes).

        A.      Gemini Earn Loan Agreements Are Not Investment Contracts Under Howey

        Under Howey, an instrument is an “investment contract” where there is (1) an investment

of money, (2) in a common enterprise, (3) in which the purchaser has a reasonable expectation of

profits, (4) with such profits derived solely from the efforts of others. 328 U.S. at 299. Here, the

Complaint and Loan Agreement show that Gemini’s customers lent digital assets to GGC in an

amount and on a timetable of their choosing, outside the context of a common enterprise, and

without any expectation of sharing in the profits of Gemini or GGC’s efforts. The SEC has alleged

loans, but not securities.

                1.      The Complaint fails to allege that Gemini’s customers “invested” in a
                        “common enterprise”

        In the Second Circuit, a “common enterprise” can only be satisfied by demonstrating

horizontal commonality—that “the fortunes of each investor depend[ed] upon the profitability of

the enterprise as a whole.” Revak v. SEC Realty Corp., 18 F.3d 81 (2d Cir. 1994).


                                                 9
       Here, each Earn customer’s fortunes were not “tied to the fortunes of the other investors.”

Rather, they were based on receipt of pre-determined, contractual rates of interest. Interest paid

to Earn customers was based solely on the negotiated and fixed loan terms agreed to by GGC and

the Earn customer at the outset. See Compl. ¶¶ 27–30. Earn customers did not earn profit in an

amount that was based on the returns that GGC generated in its lending business, or share in the

profits or losses with GGC or any other Earn customer on a pro rata basis. Earn customers were

not entitled to capital appreciation resulting from the loan, or a participation in earnings resulting

from GGC’s use of the assets that were lent. They received a market rate of interest, and nothing

more. See id.

       The Loan Agreement treated every loan from an Earn customer as an obligation of GGC,

independent of any potential losses that GGC may suffer with respect to loans that it made to its

borrowers. See id. Earn customers took no risk on the counterparties to which GGC lent, or

GGC’s other business enterprises. Nor were they entitled to a return based on GGC’s profits. In

other words, Earn customers did not have the skin in the game that defines a common enterprise.

See, e.g., Deckebach v. La Vida Charters, Inc. of Fla., 867 F.2d 278, 282 (6th Cir. 1989) (finding

there was no common enterprise where “[t]here was no pooling of profits or proration of losses

among the yacht owners under the management agreement with La Vida.”)

       While the Complaint alleges that “both Genesis and Gemini Earn investors earned profits

when Genesis deployed the pooled assets,” see, e.g., Compl. ¶¶ 59–60, the mere asset aggregation

that occurred in the Gemini Earn program is legally insufficient. Unlike cases where “investors’

assets are pooled and the fortunes of each investor is tied to the fortunes of other investors as well

as to the success of the overall enterprise,” SEC v. Telegram Grp. Inc., 448 F. Supp. 3d 352, 369

(S.D.N.Y. 2020), the Complaint here fails to allege how GGC’s efforts increased the value or




                                                 10
expected return of the investment, beyond the conclusory allegation that GGC “deployed the

pooled assets.” Compl. ¶ 60. Without more, there are no allegations of the shared fortune that

defines common enterprises. See, e.g., Cooper v. King, 114 F.3d 1186 (6th Cir. 1997) (“The mere

fact that funds of investors, such as Plaintiffs, were co-mingled in a single bank account does not

render this transaction a security.”).

       Finally, Earn customers were not aligned with one another economically. Each customer

was treated separately. Every loan stood on its own, per the Loan Agreement. See Compl. ¶ 26;

Gottlieb Dec., Ex. 1. And the fact that two loans might be made to the same company does not

transmogrify the Loan Agreements into securities.

       The SEC’s legal theory is out of step with Howey and its progeny. It is not enough merely

to assert that “the fortunes of each investor ‘depend[s] upon the profitability of the enterprise as

whole,’” see SEC Response to GGC’s Pre-Motion Conference Letter, dated May 9, 2023 (ECF

No. 26) (citing Revak, 18 F.3d 81). Revak, which found that a common agency arrangement was

not a securities offering, explicitly instructs that “[i]f a common enterprise can be established by

the mere showing that the fortunes of investors are tied to the efforts of the promoter, two separate

questions posed by Howey—whether a common enterprise exists and whether the investors’ profits

are to be derived solely from the efforts of others—are effectively merged into a single inquiry.”

18 F.3d at 88. As with the agreements in Revak, where “[t]he rents and expenses attributable to

each unit were not shared or pooled in any manner, but were instead the sole responsibility of the

unit owner,” id., each loan here stands on its own, with each loan having its own separate terms.

               2.      The Complaint fails to allege that Gemini Earn customers had any
                       expectation of profits solely from the efforts of either Gemini or GGC

       The SEC’s allegations that the “returns of Gemini Earn investors were dependent on

Genesis’ managerial efforts and risk management in its lending activities” (Compl. ¶ 41) is not the



                                                 11
type of “efforts of others” contemplated under Howey. Only one variable dictated how “profitable”

the Loan Agreement was for each customer—the market-based interest rate that GGC promised to

pay as the principal on each Loan Agreement. See Compl. ¶ 27; Gottlieb Dec., Ex. 1 at 5. After

a customer, Gemini, and GGC executed a Loan Agreement, GGC’s “managerial efforts and risk

management” made no difference in how much those customers were entitled to receive in

exchange for lending their digital assets. To the contrary, GGC’s obligations to Gemini Earn

customers were contractual promises to pay an interest rate, established and locked at the first of

every month, regardless of how Gemini or GGC’s business performed. See Compl. ¶ 27; Gottlieb

Dec., Ex. 1 at 5.

       Critically, the SEC does not allege that Gemini Earn customers had any entitlement to

capital appreciation resulting from their initial loan, or that they shared in the earnings that flowed

from GGC’s deployment of their assets. These facts are on all fours with cases where courts have

rejected a finding that a given instrument comprised an investment contract. See Harman v.

Harper, 914 F.2d 262, *5 (9th Cir. 1990) (“after the notes were purchased, the Harpers’ efforts

could not and did not make any difference.”); First Citizens Fed. Sav. & Loan Ass’n v. Worthen

Bank & Tr. Co., N.A., 919 F.2d 510, 516 n.6 (9th Cir. 1990) (holding that neither loan participation

agreement nor underlying note were “investment contracts” under Arizona securities law where

Loan participation agreement under which savings and loan association agreed to provide certain

percentage of development loan for agreed rate of interest, subject to all of specified rights and

obligations found in loan documents between principal, a commercial bank, and borrower).

       The Gemini Earn loan rates constituted the floor and the ceiling of what customers

expected to earn. Such an arrangement is consistent with arms-length lending activity, rather than

an investment in a common enterprise. See Union Planters Nat’l Bank of Memphis v. Com. Credit




                                                  12
Bus. Loans, Inc., 651 F.2d 1174, 1185 (6th Cir. 1981) (“The profit which would accrue to the Bank

in the form of interest earnings was contingent only upon the passage of time, and was not of a

different nature than in a commercial lending transaction.”); Deckebach, 867 F.2d at 282, Union

Nat’l Bank of Little Rock v. Farmers Bank, Hamburg, Ark., 786 F.2d 881, 884–85 (8th Cir. 1986)

(finding there were no profits derived from the entrepreneurial or managerial efforts of others

where “Union had no prospect of capital appreciation or profit from any increased earnings in the

business … Union’s return was based solely upon Tucker Oil’s ability to repay the loan”);

Resolution Tr. Corp. v. Stone, 998 F.2d 1534 (10th Cir. 1993) (holding that EARs were not

“investment contracts” that would qualify as “securities” under Securities Act where holder

received specified interest payments from its investment in EARs, rather than dividends tied to

profitability of seller or any other entity).

        Finally, the Complaint’s reliance on GGC’s restructuring process and Gemini Earn

participants’ current inability to access their loaned assets to bootstrap a claim of a common

enterprise is misplaced. See Compl. ¶ 60. The SEC also improperly equivocates insolvency risk

with investment risk. A loan that is made with the expectation that the borrower would remain

solvent in order to repay the principal and interest is not the same as an investment “premised on

a reasonable expectation of profits to be derived from the entrepreneurial or managerial efforts of

others.” See, e.g., Elson v. Geiger, 506 F. Supp. 238, 241–242 (E.D. Mich. 1980) (quoting United

Housing Foundation, Inc. v. Forman, 421 U.S. 837, 847–48 (1975)). Rather, an interest in a firm’s

solvency is distinct from a dependence on that firm’s efforts and performance for purposes of

Howey. See Harper, 914 F.2d at 262 (citing Elson, 506 F. Supp. at 242 (“While the repayment of

the mortgage may have depended on the solvency of the borrower, this is not the same as

depending on entrepreneurial efforts”)); see also Intelligent Digital Systems, LLC v. Visual




                                                13
Management Systems, Inc., 683 F. Supp. 2d 278 (E.D.N.Y. 2010) (describing a non-security note,

and observing “[w]hile payment might not, as here, be made in the event of a default, that default

is not something that is unique to any ‘investment-like’ character of the asset purchase, but is a

risk attendant to any sale.”).

        All loans necessarily involve counterparty insolvency risk, and hence it is not an

analytically salient feature to distinguish loans from investment contracts. Indeed, if Howey’s

“common enterprise” and “expectation of profits” prongs were collapsed into the mere expectation

that a borrower remain solvent, every commercial lending arrangement would become an offer

and sale of securities, because if a company entered Chapter 11, its fortunes would be, in some

way, tied to that of its lender. The same would apply to any supplier agreement and any other

sales arrangement where payment occurs sometime after delivery. That has never been the law,

and holding otherwise would re-characterize and impermissibly impose a burdensome securities

regulation regime on garden-variety commercial lending and beyond.

        B.      Gemini Earn Loan Agreements Are Not Security Notes Under Reves

        The SEC also fails to allege that the Gemini Earn program constituted an offer or sale of

security notes. Even if the loans at issue were characterized as “notes,” a note is not a security if

it is one of the types of “non-security notes” identified in Reves (collectively, the “Non-Security

Notes”), or if it bears a “strong family resemblance” to the Non-Security Notes. Reves, 494 U.S.

at 64–65.

        In Reves, the Supreme Court established a four-part inquiry to determine whether a note

bears a “strong family resemblance” to a Non-Security Note. Under that framework, a note is

presumed to be a security unless it bears a strong resemblance to instruments that are not securities,

determined by reference to four factors: (1) the motivation of the parties; (2) the plan of

distribution; (3) the expectations of the investing public; and (4) the availability of an alternative


                                                 14
regulatory regime that “significantly reduces the risk of the instrument” for investors other than

the securities laws, “thereby rendering application of the Securities Acts unnecessary.” 494 U.S.

at 64–69. Under Reves, the Loan Agreements are, as a matter of law, nothing more than

commercial or consumer loan activity.

               1.      The motivations of the parties were simply to make (and accept) a
                       loan

       The first factor under Reves examines the objective “motivations that would prompt a

reasonable seller and buyer to enter into the transaction.” Reves, 494 U.S. at 66. “If the seller’s

purpose is to raise money for the general use of a business enterprise or to finance substantial

investments and the buyer is interested primarily in the profit the note is expected to generate,”

then a note is more like a security. Reves, 494 U.S. at 66. Alternatively, a note primarily intended

for a “commercial or consumer purpose” will “less sensibly [be] described as a ‘security.’” Reves,

494 U.S. at 66. It is not enough that a counterparty merely seeks to earn a profit from a loan. See

generally Banco Espanol, 973 F.2d at 55 (where one party sought short-term credit while another

sought profit, the note was not a security).

       Here, the motivations of Gemini Earn customers are consonant with loans and commercial

lending arrangements, and not securities. As alleged, Gemini Earn customers were motivated by,

and expected to collect, a reasonable, market rate of interest, and not to speculate on GGC’s

business enterprise or business acumen. See Compl. ¶¶ 27–30. The demand for open-term loans

through the Gemini Earn program—redeemable for full value at any time—did not reflect a

confidence in GGC’s corporate vision for the future, but rather a desire for attractive and market-

based yield that was not contingent on any appreciation in GGC’s value. See Compl. ¶ 31. It

cannot be understated that the open term nature of the loans confirms that they are short-term and

commercially motivated transactions, and not a long-term profit or capital investment in GGC.



                                                15
Put differently, the fact the loans to GGC were redeemable on demand materially distinguishes

them from traditional lending investments that may constitute security notes under Reves.

       As noted above, the Loan Agreement also treated every loan from an Earn customer as an

obligation of GGC independent of any gains or losses that GGC may have enjoyed or suffered.

Earn customers were not sharing in the spoils of GGC’s business, and were not entitled to a return

based on GGC’s profits from its activities. See Compl. ¶¶ 27–31.

       Banco Espanol is highly instructive. In Banco Espanol, the court analyzed whether

customer agreements to participate in Security Pacific’s short-term loan program constituted

security notes under Reves. See 973 F.2d 51, 55 (2d Cir. 1992). Like the yield rates offered in the

Gemini Earn program, the loan in Banco Espanol “offered yields superior to comparable money

market instruments for placement of the participant’s excess cash at interest, such as in Federal

Funds, Commercial Paper, Certificates of Deposit or Eurodollar Deposits.” Banco Espanol de

Credito v. Sec. Pac. Nat’l Bank, 763 F. Supp. 36, 39 (S.D.N.Y. 1991), aff’d, 973 F.2d 51 (2d Cir.

1992). Against this backdrop, the trial court reasoned that “the overall motivation of the parties

was the promotion of commercial purposes and not investments in a business enterprise”:

       Self-evidently, [Security Pacific’s customer’s] motivation was to have access to a
       source of short-term funds that was competitive with alternative short-term money
       market instruments to finance current operations or to cover a temporary cash
       shortage. The motivation of the participant in buying all or part of the loan was to
       use its excess cash by purchasing a short-term vehicle that would earn a fixed rate
       of interest that was higher than alternative money market instruments. Thus, the
       overall motivation of the parties was the promotion of commercial purposes and
       not investments in a business enterprise.

Id. at 42-43. The Second Circuit affirmed, noting that “purchasers of the loan participations sought

a short-term return on excess cash.” Banco Espanol, 973 F.2d at 55.

       Like the lenders in Banco Espanol, Gemini customers who agreed to participate in the

Gemini Earn program were motivated to receive guaranteed and commercially reasonable yield,



                                                16
not subject to contingency, and not to invest in the long-term growth of GGC or Gemini. Indeed,

as the SEC alleges, before they even enrolled in the program, Gemini customers could estimate

exactly how much interest they would earn (regardless of how GGC performed). See Compl. ¶ 50

(“Gemini’s website also included a calculator that showed a user potentially how much interest

they could earn by investing their crypto assets in the Gemini Earn program for a period between

one and four years.”). While the Complaint alleges in conclusory fashion that Gemini customers

“were primarily motivated to earn a profit” and “participated in the Gemini Earn program primarily

for profit, i.e. to receive a return on their crypto assets” (Compl. ¶¶ 47–48), the Complaint fails to

distinguish their motivations from the motivations of any lender. As the Seventh Circuit observed

on similar facts, “[i]n one sense every lender of money is an investor since he places his money at

risk in anticipation of a profit in the form of interest,” C.N.S. Enterprises, Inc., v. G & G.

Enterprises, Inc., 508 F.2d 1354, 1359 (7th Cir.1975) (emphasis added); see also Intelligent

Digital Sys., 683 F.Supp.2d at 284 (holding a note is not a security where the “motivation of the

seller is not to invest in the future success of the buyer, where the price to be paid might vary along

with the success, or lack thereof, of the buyer's business. Instead, the amount to be paid is

contractually established, and must be paid . . . .”); Asset Prot. Plans, Inc. v. Oppenheimer & Co.,

Inc., No. 8:11-CV-440-T-23MAP, 2011 WL 2533839, at *3 (M.D. Fla. Jun. 27, 2011) (relying on

Banco Espanol and C.N.S. Enterprises to hold that certain notes that were to be repaid without any

contingency were “most fittingly conceived as a loan”).

       Additionally, the Loan Agreements were not transferrable or assignable, and not

susceptible to being freely traded or used for profit seeking on the secondary market. See Gottlieb

Dec., Ex. 1 at Section XVII. The rates of interest offered to Gemini Earn customers were also

market rate, reset on a set schedule to match the market, and not so high as to imply or suggest an




                                                  17
investment purpose. See Compl. ¶¶ 27, 30; Jeanne Piaubert, S.A. v. Sefrioui, No. 97-56131, 2000

WL 194149, at *3 (9th Cir. Feb. 17, 2000) (“Although the Limited Partnership, as the seller, may

well have intended to raise general operating funds, no reasonable buyer would have been

interested primarily in the profit the 6% note-as opposed to the Limited Partnership itself-would

generate.”); Banco Espanol, 973 F.2d at 55 (noting that “traditional loan participations do not

qualify as securities” and that the district court correctly found that “the motivation of the parties

was the promotion of commercial purposes” where one party wanted “short-term credit … to

finance its current operations” and the other “sought a short-term return on excess cash”); Asset

Prot. Plans, Inc., 2011 WL 2533839 at *3 (finding that fixed-rate demand loan agreements,

expressly describing the transaction as a loan, were not securities).

               2.      The alleged plan of distribution refutes a conclusion that the Loan
                       Agreements were securities

       Even if the tri-partite Loan Agreements could be considered a “distribution” at all, by

design, and under the terms of each Loan Agreement, the loans were only offered to existing

Gemini customers and had no secondary market. See Compl. ¶ 26 (“Gemini Earn investors first

needed to hold eligible crypto assets with Gemini ….”). Hence, the plan of distribution was

limited; GGC borrowed only from Gemini customers, who have passed through Gemini’s

onboarding process, which process would necessarily have been subject to approval by Gemini’s

prudential regulator, NYDFS. Compl. ¶ 26. There was an existing commercial relationship and a

commercial purpose between Gemini Earn customers, on the one hand, and Gemini and GGC, on

the other hand. See Gottlieb Dec., Ex. 1 at 13 (providing that “no Party may assign this Agreement

or any rights or duties hereunder without the prior written consent of [Gemini and GGC]”).

       Similarly, each Loan Agreement was for a specific customer signatory, and no one else.

There was no common trading of the Loan Agreements for speculation or investment purposes.



                                                 18
Non-transferrable notes of this kind are routinely held to be non-securities, including in Banco

Espanol itself. See Banco Espanol, 973 F.2d at 55 (holding that short-term loan participations sold

by bank were not “securities” within meaning of Securities Act; among other features, only

institutional and corporate entities were solicited by bank, and the instruments specifically

prohibited resales); Benedict v. Amaducci, No. 92 Civ. 5239 (KMW), 1995 WL 413206, at *10

(S.D.N.Y. July 12, 1995) (granting motion to dismiss complaint and holding notes were not

securities because the plaintiff “d[id] not allege any plan of distribution for the notes, and there

was no public expectation that the notes would be traded as securities”) (internal quotation marks

and citation omitted); Premier Microwave Corp. v. Comtech Telecomms. Corp., No. 88 Civ. 2570

(KMW), 1991 WL 12430 (S.D.N.Y. Jan. 28, 1991) (granting motion for summary judgment

dismissing the complaint and holding that note was not security in the absence of distribution plan

and public expectation that note would be traded).

               3.      The SEC’s allegations, and the Loan Agreement itself, confirm that
                       the “expectation of the investing public” was that the Gemini Earn
                       loans were not securities

       The SEC alleges no facts that suggest that the investing public would have expected that

their loans were securities. There is no secondary market for the Loan Agreements. The lack of

free assignment and transfer rights establish that the loans are not for open trading or profit-seeking

(beyond receipt of a market rate of interest). The interest rates are not so high as to suggest an

investment in GGC’s growth as a company, or to reward or induce risk-taking or speculation in

GGC’s own business enterprise.        See Compl. ¶ 30. Since the Loan Agreements “were not

commonly traded” and there was no secondary market, “it is unnecessary to examine the

reasonable expectation of the investing public,” and Reves’ third prong must be weighed against a

finding that the agreements were securities. Reeder v. Succession of Palmer, 736 F. Supp. 128,

131 (E.D. La. 1990), aff’d sub nom. Reeder v. Palmer, 917 F.2d 560 (5th Cir. 1990).


                                                  19
       Moreover, even assuming that Gemini Earn customers could stand in for “the investing

public,” there is no basis to infer that they expected to transact in securities. See id. at 129, 131

(holding that payments made to participants in an alleged Ponzi “travel club” were not securities

under Reves where participants were promised a 6% return per month and their “only expectation

could be that of loan repayment with a fixed – albeit high – rate of interest.”). Here, the SEC’s

Complaint alludes to Gemini’s marketing campaign to suggest that the Loan Agreements were

securities. See Compl. ¶¶ 33–37, 50. But the Loan Agreements, to which each customer agreed,

expressly stated “the Loans are intended to be commercial loans of Digital Assets and not securities

under the U.S. federal or state securities laws.” See Gottlieb Dec., Ex. 1 at 16 (emphasis added).

Given such express language, no Gemini Earn participants would or could have had the

“reasonable expectation” that their participation in the program involved securities.

       The structure and language of the Loan Agreements confirm that the parties were agreeing

to a commercial lending relationship, and committing to paying (and receiving) advertised interest

rates. See id., Ex. 1 at 2–5. This kind of unequivocal language is inconsistent, as a matter of law,

with the conclusions that Gemini Earn customers plausibly had any expectation that they were

transacting in securities, or placing assets at risk for anything beyond the advertised yield. Thus,

the SEC’s invitation for the Court to retroactively supplant the express understanding of the parties,

and the “economic realities” of the transaction (Reves, 494 U.S. at 62, 67), with the SEC’s baseless

speculation should be rejected. See Banco Espanol, 973 F.2d at 55 (holding instruments were not

securities where, among other things, the institutions who purchased the loan participations “were

given ample notice that the instruments were participations in loans and not investments in a

business enterprise”); Kirschner, 2020 WL 2614765 at *9 (“the Credit Agreement and CIM would

lead a reasonable investor to believe that the Notes constitute loans, and not securities.”); LeBrun




                                                 20
v. Kuswa, 24 F. Supp. 2d 641, 648 (E.D. La. 1998) (“After the fact recharacterizations cannot

affect this prong”). In sum, none of the circumstances alleged in the Complaint support a plausible

inference that Gemini Earn customers would believe the Loan Agreements were securities.

               4.      Risk mitigation factors, including a regulatory regime, were in place

       The last Reves factor analyzes whether any additional factors significantly reduce the risk

relating to the instrument, hence bearing more of a resemblance to a Non-Security Note. Reves,

494 U.S. at 69. Because the first three factors weigh so heavily against a finding that the Loan

Agreements are securities notes, “the court need not consider the fourth factor.” Intelligent Digital

Sys., 683 F. Supp. 2d at 285.

       In any event, as the SEC acknowledges, “Gemini is registered with the NYSDFS as a New

York limited purpose trust company.” Compl. ¶ 52. NYSDFS supervises and regulates the

activities of New York financial institutions, such as Gemini.

       Furthermore, other risk-reducing features were present in the Gemini Earn program. GGC

backed all loans as principal, and the Loan Agreement confirms that lenders are not taking risk

based on the quality of GGC’s loans to others. See Gottlieb Dec., Ex. 1. GGC is based in New

Jersey, and contract law and other state consumer protections and common law provides GGC’s

counterparties with “additional avenues of protection.” See e.g., Glazer v. Abercrombie & Kent,

Inc., No. 07 C 2284, 2009 WL 3060269, at *9 (N.D. Ill. Sept. 22, 2009). Moreover, the Loan

Agreements established that all loans were open-term instruments (Compl. ¶ 31), and that Gemini

Earn customers could reclaim their assets on a discretionary basis, further lessening the need for a

regulatory scheme. SEC v. RG Reynolds, 952 F.2d 1125 (9th Cir. 1991) (acknowledging that “the

longer one’s funds are to be used by another, the greater risk of loss”).




                                                 21
       In short, the SEC fails to adequately allege that the Loan Agreements constituted either

investment contracts under Howey or security notes under Reves. Accordingly, the Complaint

should be dismissed against GGC.

II.    PERMANENT INJUNCTIVE RELIEF AND DISGORGEMENT ARE NOT
       SUFFICIENTLY ALLEGED

       Even if the Court found that the Complaint has sufficiently alleged that the Loan

Agreements could constitute investment contracts or security notes, the Court should nonetheless

strike the SEC’s prayer for a permanent injunction and disgorgement.

       Improper prayers for relief may be subject to a motion to strike if the complaint fails to

allege facts supporting the plaintiff’s entitlement, as a matter of law, to the requested relief. SEC

v. City of Victorville, No. ED CV13-00776 JAK (DTBx), 2013 WL 12133651, at *13 (C.D. Cal.

Nov. 14, 2013) (striking SEC’s disgorgement remedy) (citing cases).

       First, the SEC fails to allege any basis for a permanent injunction against GGC. “A

permanent injunction is a drastic remedy and should not be granted lightly, especially when the

conduct has ceased.” SEC v. Steadman, 967 F.2d 636, 648 (D.C. Cir. 1992) (emphasis supplied).

Thus, as the court in SEC v. Boey, No. 07-cv-39-SM, 2013 U.S. Dist. LEXIS 59250 (D.N.H. Jul.

22, 2013), summarized:

       “There must be ‘some cognizable danger of recurrent violation, something more
       than the mere possibility which serves to keep the case alive.’” Although
       “fraudulent past conduct gives rise to an inference of a reasonable expectation of
       continued violations,” SEC v. Opulentica, LLC, 479 F. Supp. 2d 319 (S.D.N.Y.
       2007), … the SEC must “go beyond the mere facts of past violations and
       demonstrate a realistic likelihood of recurrence.” SEC v. Commonwealth Chem.
       Secs., Inc., 574 F.2d 90, 99-100 (2d Cir. 1978).

Boey, 2013 U.S. Dist. LEXIS 59250, at *8–9 (quoting SEC v. Dibella, No. 3:04-cv-1342 (EBB),

2008 U.S. Dist. LEXIS 109378, at *12 (D. Conn. Mar. 13, 2008) (cleaned up)). Here, the SEC

has (1) acknowledged that “the Gemini Earn program has been terminated” (Compl. ¶ 8), but (2)



                                                 22
alleged nothing in the remainder of the Complaint that evinces that there is a realistic likelihood

of recurrence. Commonwealth Chem. Secs., Inc., 574 F.2d at 99. Thus, the SEC’s request for a

permanent injunction should be stricken.

       The Complaint’s single allegation relating to any putative need for an injunction fails. The

SEC claims that GGC “intends to reengage in crypto asset lending activities” in the future (Compl.

¶ 8)—unspecified activity which may or may not include any activity similar to the Earn Program.

But such speculative and vague allegation of some future intent of a non-specific activity does not

allege any “cognizable danger of recurrent violation.” See Dibella, 2008 U.S. Dist. LEXIS

109378, at *12; cf. Schorr v. Roberson, 319 F. Supp. 3d 226, 230 (D.D.C. 2018) (reasoning that

injunctive relief based solely on hypothetical reinstatement of prior violations is not warranted).

Simply put, there is no basis for a permanent injunction here.

       Second, the SEC does not allege a claim for disgorgement, which cannot “exceed a

wrongdoer’s net profits,” and “is awarded for victims is equitable relief under § 78u(d)(5).” Liu

v. SEC, 140 S. Ct. 1936, 1940 (2020). The SEC is also required to provide “a reasonable

approximation of profits causally connected to the violation.” SEC v. First Jersey Secs., Inc., 101

F.3d 1450, 1475 (2d Cir. 1996).

       After its multi-year investigation, the SEC still has failed to put forth any allegations as to

what net profits GGC should disgorge or return as a result of the violations alleged in the

Complaint. The SEC refers to disgorging ill-gotten gains in just two places in the Complaint: in

the identification of a litany of relief sought and in the prayer for relief section. Compl. ¶ 12, at

21 (Prayer for Relief, II). Neither of these conclusory allegations provide any facts to establish

whether GGC received any “ill-gotten gains” or “net profits” as a result of the Gemini Earn

program. Nor do such conclusory allegations plausibly support any disgorgement theory.




                                                 23
       Merely reciting an estimate of how much GGC earned from “Institutional Borrowers” in a

three-month period in 2022 (see Compl. ¶ 42) is not a substitute for providing what the Supreme

Court and the Second Circuit require of the SEC for disgorgement. And such recitation fails to

provide GGC with the required notice of the SEC’s legal or factual basis for such claim, consistent

with Rule 8’s notice pleading standard. Fed. R. Civ. P. 8(a). Even where plaintiffs have cited

more precise estimates of gains allegedly resulting from misconduct, courts have required more

than the SEC has provided here. See SEC v. Fernandez, No. 6:19-CV-1843-RBD-LRH, 2021 WL

6125520, at *3 (M.D. Fla. Feb. 22, 2021) (“Upon consideration, the Court is not convinced that a

sole citation to an allegation in the complaint that ‘Fernandez misappropriated at least $1.65

million of investors’ funds’ is sufficient to carry the SEC’s burden of providing ‘a reasonable

approximation of [Mr. Fernandez’s] ill-gotten gains.’”).

       Accordingly, the court should strike the SEC’s unfounded request for disgorgement, which,

in any event, could only come at the expense of the creditors in the GGC Chapter 11 proceedings,

including the Gemini customers. See SEC v. Norton, No. 95 CIV. 4451 (SHS), 1998 WL 691043,

at *5 (S.D.N.Y. Sept. 30, 1998) (dismissing claim for disgorgement on summary judgment where

the “SEC has made no other showing that Tartaglia received any ill-gotten gains”); SEC v.

Alexander, 115 F. Supp. 3d 1071, 1088 (N.D. Cal. 2015) (Plaintiff’s single statement that

Defendants “financed their personal and unrelated business’ expenses” is insufficient to establish

that disgorgement of the total funds raised is required as a matter of law).




                                                 24
                                         CONCLUSION

       For the foregoing reasons, GGC respectfully requests that the Court dismiss the Complaint

in its entirety against GGC, or, in the alternative, strike the SEC’s requests for a permanent

injunction and disgorgement, and grant such other and further relief as is just and proper.

Dated: New York, New York
       May 26, 2023                           MORRISON COHEN LLP

                                              By:    /s/ Jason Gottlieb
                                                       Jason Gottlieb
                                                       Daniel C. Isaacs
                                                       William Roth
                                                       909 Third Avenue
                                                       New York, New York 10022
                                                       (212) 735-8600

                                              Attorneys for Defendant Genesis Global Capital, LLC




                                                25
